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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF INDIANA
                          INDIANAPOLIS DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                         Plaintiff,         )
                                            )
                    v.                      )   No. 1:21-cr-00068-JPH-DML
                                            )
TIMOTHY MCKENNA,                            ) -01
                                            )
                         Defendant.         )

                                      ORDER

      The government filed an indictment against Mr. McKenna on March 2,

2021, dkt. 1, and defense counsel entered an appearance on March 9, 2021,

dkt. 11. An initial hearing was scheduled for March 9, 2021, dkt. 9, but was

later vacated, dkt. 13. No trial date is currently scheduled, see dkt. 14, and

the docket does not reflect that the government has taken action to have Mr.

McKenna transferred to federal custody. Counsel for the government and Mr.

McKenna SHALL FILE a joint status update by July 28, 2021 informing the

Court of the basis for Mr. McKenna's state detention and when he may be

transferred into federal custody on this case.

SO ORDERED.

Date: 7/14/2021




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